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                                 UNITED STATES DISTRICT COURT
    9                           CENTRAL DISTRICT OF CALIFORNIA
   10      MISS GLOBAL ORGANIZATION                     CASE NO.: 8:17-cv-02223-DOC-KES
           LLC, a California limited liability
   11      company and VAN PHAM, an                     PROOF OF SERVICE
           individual,
   12
                               Plaintiffs,
   13
           v.
   14
           SOKHUNTEA MAK, as known as TEA
   15      MAK, an individual; Scott Ware, an
           individual; and DOES 1 through 10,
   16
                               Defendants.
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